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                                                                                                                             E-FILED
                                                                                   Wednesday, 22 September, 2021 03:44:40 PM
                                                                                                  Clerk, U.S. District Court, ILCD

                                UNITED STATES DISTRICT COURT
                                         for the Central District of Illinois
                                                           )
                                                           )
~ ,'- .                     Plaintiff,                     )
        · M/Uc:7~"-~~~
         v.                                                ~       Case No.      ;;z J-   ~43
                                                           )
                                                           )
                            Defendant(s).                  )
          ~::r~(!>~7~
                                PRO SE CIVIL RIGHTS COMPLAINT
                                                       (Non-Prisoner)

   I.         JURISDICTION
              Subject matter jurisdiction is invoked under 28 U.S.C. § 1331, 28 U.S.C. § I 343(a)(3), and/or
              42 U.S.C. § 1983. List any additional bases for federal subject matter jurisdiction here:




 II.     PARTIES

         Plaintiff:
         A.        Plaintiff,    a   citizen     of       Z,!n,7;L_l                         (state),   who     resides     at

                                                                                                         ,    alleges     that

         ~~        civil rights were violated by the individual(s) named below.



        Defendant #1:


        B.         Defendantlt~4&. ~                               /ff-dk, ~                    is employed as a
                                                 (a)   (Naneof First Defendant)
        ~~~                                               (b) (Position/Title)

        with;t;ur.&'lt282-       e.;, ~                    :r'J-sEC)a.Je 5±
                                               (c) (Employer' s Name and Address)
                                                                                           c·d 9t!J/


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           Check one of the following:
           • This defendant personally participated in causing my injury, and I want money
           damages. Briefly describe how this defendant participated:




           • The policy or custom of this official ' s government agency violates my rights, and I
           seek injunctive relief (to stop or require someone to something). Briefly describe this
     /,   _policyorcustom: a a/.h,,tz,.517 ~ LJ~ C ! ~ ~ -~
     . ~ ~ _+e-uz:; ~ . z J ~ ., ~          ~                                                                                   -~
     ~ --~    ~ / ? ~ e',, .'+ -/7 /?_,___/_ - .                                                                               /--e.
     ~ . . . D r ~ ~ ~ ~~ v ~ " ; _ , , , ~                                                                               -~
     ~ C                               - ,          ~~ ~                             ~£PUP??                         ?;ten._
     C¼f~~
Deferiant #2: "
                                  -~            " ~a,;;<lf~                 c!~ ?dd;                 e~ _d                     .A9

C.        Defendant       ~ ~ ~t:l.)..p IL                                              is employed as a
                           (a) (;;::;;Second Defendant)
                                          (b) (Position/Title)
                                                ......L......~L""'¥-F-£---"~"--"
with_____,c.27:t__,__..,~'<?1,~,R,~-a;.4'/la.---~tf,.                        . . . .r;.
                                                                                    ......~ = - - - - - - - - - - - - -
                                (c) (E1~yer's Name and Address)


          Check one of the following:

          • This defendant personally participated in causing my injury, and I want money
          damages. Briefly describe how this defendant participated:




          ~ policy or custom of this official' s government agency violates my rights, and I
          seek injunctive relief (to stop or require someone to something). Briefly describe this
          policy or custom:


                                                          2
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     Defendant #3:
     D. Defendant_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is employed as a
                                       (a) (Name of Third Defendant)

                                           (b) (Position/Title)
     with_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                  (c)) (Employer' s Name and Address)




         Check one of the following:

         • This defendant personally participated in causing my injury, and I want money
         damages. Briefly describe how this defendant participated:




        ~ e policy or custom of this official's government agency violates my rights, and I
        seek injunctive relief (to stop or require someone to something). Briefly describe this
        policy or custom: ~ t ? ~ "7f~ -~                              ~ {/~
     - ~ ~ ,/4U!.L ... fZ~ ✓- ~ .o~                                              a~
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~-~ ~~<4~ ~~~ ~$~ ,/'-n: et:'~
~~~t:K&l~O./?~.Zt&/4d:3 ~
     Additional Defendant(s) (if any):
     E.      Using the outline set fmth above, identify any additional Defendant(s), using
     additional pages, if necessary.




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III. PREVIOUS LAWSUITS

A.     Have you begun any oths;;, lawsuits in federal com1? Yes
       D                        [E'No

B.      If your answer to "A" is YES, describe the lawsuit in the space below. If there is
more than one lawsuit, you must describe the additional lawsuits on another sheet ofpaper
using the same outline.


       1.     Parties to previous lawsuits:

                      Plaintiff( s):




                      Defendant( s):




      2.      Date of Filing:

      3.      Case Number:

      4.      Jurisdiction/Court:

      5.      Name of Judge:

      6.      Issues Raised:




      7.     Disposition of Case (for example:    Was the case dismissed? Was it
             appealed? Is it still pending?):

      8.     Date of Final Disposition:




                                              4
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IV. STATEMENT OF CLAIM

 State here, as briefly as possible, when, where, how, and by whom you feel your
 co11stitutio11al rights were violated. Do not include legal arguments or citations. If you
 intend to allege several related claims, you must number and set forth ~claim in a
 separate paragraph.

 I. On or about     ,2 - 3/- ,,,Z O   ;;z_ O   (month ,day,year) , at   approximately ,// 't!) t',bz../(
• a.m. D'(m., plaintiff was present in the municipality (or unincorporated area of)
    t, 41 7 2Z               .r, CL -OnAW
                 Jto~A ~allD.>                     , in the County of
/"?fa,?;«) p~ dn-z-<kaAb:zl ~ ..A%?( a;rtin the_State of Illinois, at

 ~ , c/e.eau--ii Erbe c4n,,t. ~ ~/lWz:h
where defendant(s) violated plaintiffs civil rights as follows                (check each box that applies):

•         arrested or seized plaintiff without probable cause to believe that plaintiff had
          committed, was committing or was about to commit a crime;
•        searched plaintiff or his property without a warrant and without reasonable cause;
•        used excessive force upon plaintiff;
ti('     failed to intervene to protect plaintiff from violation of his/her civil rights by one or
         more other defendants;
•        failed to provide plaintiff with necessary medical care;
✓        conspired together to violate one or more of plaintiffs civil rights;
•        other(pleaseexplai11}:   l2atn        ~C.~P                     aLLUt: ~ ~u              k
        ~~ - ~ ,~ . , ~ ./4 Jokd -~
        ~
        -~ ~    -~ ~
            - /~~~     7~ /44~~ /4;., ~ ~
2. Plaintiff was charged with one or more crirn s, specifically:




3. The criminal proceedings       (check the box that applies):


•        are still pending.
•        were tenninated in favor of plaintiff in a manner indicating plaintiff was innocent.
•        resulted in a finding of guilty on one r more of the charges.
•        other:_c.a:._.~,u,,.~r::::J,,..._____..,,~~~~~~~~~--.L.~~~:.JL.~,_~~~L--




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4. Plaintiff fu11her alleges as follows: Describe what happened that you believe supports
your claims. To the extent possible, be specffic as to your own actions and the actions of
each defendant.




           ant(s) acted knowingly, intentionally, willfu y, and maliciously.

6. As a result of Defendant's conduct, plaintiff was injured as follows:




7. Plaintiff asks that this case be tried by a jury. • Yes     • No



                                            6
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         V. PRAYER FOR RELIEF

         Plaintiff requests that the Court grant the following relief:
                                                                     ~
         1. Compensatory Damages in the amount of$                5 ,,.,t:}10 c7,1e:>OO     to
                compensate for (check all that apply):

                    • bodily hann
                    [¥"'?emotional hann
                    ~ pain and suffering
                    ~loss of income
                    !Yloss of enjoyment oflife
                    ~property damage

         2. Punitive Damages:                             • No

         3. Such injunctive, declaratory, or other relief as may be appropriate,
            including attorney's fees and reasonable expenses as authorized by 42
            U.S.C. § 1988.



          DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

I certify to the best of my knowledge, info1mation, and beli ef, that this complaint is in full compliance
with Rule 1l(a) and l l(b) of the Federal Rules of Civil Procedure. The undersigned also recognizes
that failure to comply with Rule 11 may result in sanctions.


Date:   CJ/ -    ;1, 0 .. .,. 2   0 .2.   l

Signature of P l a i n t i f f : ~ ; ' f ~                        &,c
Plaintiffs Name (print clearly or type):          ;;tu j, rt: t      -f-- /_ <4   e,' L·L·e/       ne.11'-t
                                                                                                 /,5_
Mailing Address:         ~ ~ -7       ?/7 #'c7a?7e2U P aU2
City:   ~                                                     .-Zl
                                                            State:                        Zip: ~C) 9   c> I
Plaintiffs Telephone Number:                  {?/.5)   323- 7£21:a




                                                           7
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Pro Se I Rev. 12/16) Com laint for a Civil Case



                                       UNITED STATES DISTRICT COURT                                           c1.     S[p 2 2
                                                                      for the                         c~N.,.}{l2/(     0,:-          <o;,
                                                    _ _ _ _ District o f _ _ _ _                              ~tPlf  mfc1~cod'~,-
                                                                                                                '°1,V,q'l'lc,- Co
                                                                                                                       , ll.t.1. 0,:- I ~,-
                                                             _____ Division                                                    '1Voil"'- 1No1~


                                                                        )       Case No.

u~~-~± _; 1 . ~ ~          , Plaintiff(s)
                                                                        )
                                                                        )
                                                                        )
                                                                                           (to be filled in by the Clerk's Office)



(Write the Ju name of each plaintiff who is filing this complaint.      )
If the names of all the plaintiffs cannot fit in the space above,               Jury Trial: (check one) ffies 0No
please write "see attached" in the space and attach an additional       )
page with the full list of names.)                                      )
                                 -v-                                    )
                                                                        )
                                                                        )

                     ~ L'~.,;., ~
                                                                        )
~A                            Defendant(s)
                                                                        )
(Write the full name of each defendant who is being sued. If the
                                                                        )
names of all the defendants cannot fit in the space above, please       )
write "see attached" in the space and attach an additional page         )
with the full list of names.)



                                                  COMPLAINT FOR A CIVIL CASE


I.       The Parties to This Complaint
         A.         The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number                     _8_/S:- 1-;z_ ? - ·7J:-Y'..
                               E-mail Address                       _lld/J/e6urf b fi) fJll1£Li-L-&ua _ _ __
         B.         The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known) . Attach additional pages if needed.


                                                                                                                                       Page I of 5
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Pro Se I (Rev. 12/ 16) Complaint for a Civil Case


                      Defendant No. 1
                                 Name
                                 Job or Title (if known)
                                 Street Address
                                 City and County             -~~ -~~' 4'-»1..u~_..,________ __ _
                                 State and Zip Code
                                                             dt'_b--a_~_L),~- - - - - -- -
                                 Telephone Number            ?IS:~ r .:r  3 '---
                                                                              -_.....3..___..'3=----e:.-2.=-----=------#---/_ _ _ __
                                 E-mail Address (if known)


                      Defendant No. 2
                                 Name
                                 Job or Title (if known)
                                 Street Address              3s,,sr E ~_L.cd±.~
                                                                           _ - _ _ _ __
                                 City and County
                                                             2 r ~ ~~ '2.-,a2..~'i:/~~~'J'U-4--
                                 State and Zip Code
                                                             r;;;:tL   6C??o
                                 Telephone Number
                                 E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if kno wn)



                                                                                                                              Page 2 of 5
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II.        Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  0Federal question                                D Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                               , is a citizen of the
                                            State of (name)


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                               , is incorporated
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                               , is a citizen of
                                                                     -----------------
                                           the State of (name)                                               0 r is a citizen of
                                           (foreign nation)


                                                                                                                            Page 3 of 5
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                                b.         If the defendant is a corporation
                                           The defendant, (name)    JfaJt:t.J!~_f~, is incorporated under
                                           the laws of the State of (name)     - - -- - -- - - - - - - --     ~   , and has its
                                           principal place of business in the State of (name)
                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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       t:JLU~ ..d~~~~ --h./cK~~e../AZ .A..a h~
       ~ ~ ~ t ? c : u- ~~~~~~~
IV.      Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         punitive money damages.




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Pro Se I (Rev. 12/ 16) Complaint for a Civi l Case




V.         Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.          For Parties Without an Attorney

                      I agree to provide the Clerk' s Office with any changes to my address where case- related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of signing:          9- 2o ~ ...2 D .2..-l
                      Signature of Plaintiff         ~d~~~ ~ ~
                                                             ~ - -- - ----
                     Printed Name of Plaintiff        /f'~3/~£~~ / // e d~ ~ - - -
          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Finn
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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